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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


DAVID BRAMAN and MELISSA DUNN,
individually, and on behalf of all others similarly
situated,
                                                      Case No.: 1:23−cv−15656
                Plaintiffs,
        v.                                            Hon. Gabriel A. Fuentes

GPD HOLDINGS, LLC d/b/a CoinFlip, and CF
PREFERRED LLC d/b/a Olliv,

                Defendants.

                                PLAINTIFFS’ STATUS REPORT

       Plaintiffs submit this Status Report pursuant to this Court’s guidance (Doc. No. 53) to

notify the Court that Plaintiffs elect to litigate Defendants’ Motion to Dismiss.

Dated: May 21, 2024

                                              Respectfully Submitted,
                                              /s/ Bryan F. Aylstock
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                                        Certificate of Service

        I HEREBY CERTIFY that on May 21, 2024, I caused the foregoing document to

be electronically filed with the Clerk of the Court by using the CM/ECF system which will send

a notice of electronic filing to all counsel of record.

                                                Respectfully Submitted,
                                                /s/ Bryan F. Aylstock

                                                Bryan F. Aylstock




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